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                                                 No. 25-1329
                                         ___________________________

                                                 IN THE
                                   UNITED STATES COURT OF APPEALS
                                        FOR THE NINTH CIRCUIT
                                      ____________________________

                                                Mahmood Yoonessi,

                                                Plaintiff-Appellant,

                                                         vs.

                    LETITIA JAMES, attorney; WILLIAM PRASIFKA; KYLE WILCOX,
                    attorney; MERRILL TISCH; MEDICAL BOARD OF CALIFORNIA;
                         LYNNETTE ANTOSH; JPMORGAN CHASE BANK, N.A.,

                                           Defendants-Appellees.
                               ___________________________________________
                                  On Appeal from the United States District Court
                                       for the Eastern District of California
                             Hon. Troy L. Nunley, Case No. 2:23-CV-00023-TLN-SCR
                               __________________________________________
                        APPELLEE’S SUPPLEMENT EXCERPT OF RECORD INDEX
                             ___________________________________________

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                                              Attorneys for Appellee
                                                 KYLE WILCOX




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                   Description and File Date             File Date       USDC Dkt.       ER No.
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                                                      Respectfully submitted,

                 Dated: June 18, 2025                 GORDON & REES LLP


                                                     By: /s/ Kristin A. Blocher
                                                         Kristin A. Blocher
                                                      Attorneys for Appellee
                                                      Kyle Wilcox.




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                                       CERTIFICATE OF SERVICE

                           I hereby certify that I electronically filed the foregoing document

                 entitled APPELLEE’S ANSWERING BRIEF with the Clerk of the Court

                 for the United States Court of Appeals for the Ninth Circuit by using the

                 appellate CM/ECF system on June 18, 2025.

                           I certify that all participants in the case are registered CM/ECF

                 users and that service will be accomplished by the appellate CM/ECF

                 system.


                                                        /s/ Stephanie Snyder
                                                        Stephanie Snyder




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